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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION



LEGRAIN WINSTON,                           )
MICHELLE STRICKLAND,                       )
VERNELL TIMS, I.V. NEWSON, Jr.,            )
SAMUEL PAGE, WILFORD FERGUSON, )                           Case No. 18 cv-05726
CECIL WILLIAMS, ANTHONY                    )
MANNING, DAVID WALKER,                     )
TYRONE MCGHEE and VICTOR                   )
SLAUGHTER,                                 )
                                           )
        Plaintiffs,                        )
                                           )
vs.                                        )
                                           )
SHERIFF OF COOK COUNTY                     )
THOMAS J. DART, in his                     )
Official Capacity, JOSEPH RANZINO,         )
Individually and in his Official Capacity, )
GREGORY SHIELDS, Individually and in )                     Jury Trial Demand
his Official Capacity, THOMAS NEAL,        )
Individually and in his Official Capacity, )
CHRISTOPHER ROHLOFF, Individually )
and in his Official Capacity, and          )
COUNTY OF COOK, ILLINOIS,                  )
                                           )
        Defendants.                        )



         PLAINTIFFS RESPONSE TO DEFENDANTS’ MOTION TO DISMISS

       Plaintiffs, LEGRAIN WINSTON, MICHELLE STRICKLAND, VERNELL TIMS, I.V.

NEWSON, Jr., SAMUEL PAGE, WILFORD FERGUSON, CECIL WILLIAMS, ANTHONY

MANNING, DAVID WALKER, TYRONE MCGHEE and VICTOR SLAUGHTER hereafter

(“Plaintiffs”) by and through their attorneys, The Herbert Law Firm, pursuant to Federal Rules of

Civil Procedure 12(b)(6), responds as follows:
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                                   STANDARD OF REVIEW

       In ruling on a motion brought pursuant to Fed. R. Civ. P. Rule 12(b)(6), the court must

accept as true all well-pleaded factual allegations and draw all reasonable inferences in favor of

the plaintiff. Reger Development, LLC v. Nat’l City Bank, 592 F.3d 759, 763-64 (7th Cir. 2010).

The court must determine whether a plaintiff has alleged facts sufficient to state a cause of action

that is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)(quoting Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The Seventh Circuit has interpreted this

plausibility standard to mean that “the plaintiff must give enough details about the subject-matter

of the case to present a story that holds together.” Swanson v. Citibank, N.A., 614 F.3d 400, 404

(7th Cir. 2010). Allegations that are “merely consistent with” the cause of action are insufficient

to satisfy the plausibility standard. McCauley v. City of Chicago, 671 F.3d 611, 616 (7th Cir.

2011). Threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, will not suffice. Iqbal, 556 U.S. at 679.

       I.      The Single-Filing Rule applies and Plaintiffs’ EEOC and IDHR Counts
               should not be dismissed pursuant to Fed. R. Civ. P. 12(b)(6).

               Under appropriate circumstances, the single-filing rule may be invoked by

plaintiffs who have not complied with the procedural requirements of Title VII of the Civil

Rights Act of 1964. Zuckerstein v. Argonne Nat’l Lab, 663 F. Supp. 569 (N.D. Il. 1987). The

single-filing rule allows a noncomplying plaintiff to join a suit initiated by a complying plaintiff

under certain circumstances. Zuckerstein, 663 F. Supp at 572; citing Snell v. Suffolk County, 782

F.2d 1094, 1100 (2d Cir. 1986). The policy behind requiring Title VII plaintiffs to first submit a

charge to the EEOC is to allow the EEOC “an opportunity to settle disputes . . . before the

aggrieved party [is] permitted to file a lawsuit.” Id. at 572, citing Alexander v. Gardner-Denver

Co., 415 U.S. 36, 44 (1974).

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                The EEOC filing also provides “prompt notice to the employer,” Id. at 572, citing

Zipes v. Trans World Airlines, Inc., 455 U.S. 385, 398 (1982), furthering the policy of

conciliation. Not requiring multiple EEOC filings avoids futile acts because “it would be

wasteful, if not vain, for numerous employees, all with the same grievance, to have to process

many identical complaints with the EEOC. If it is impossible to reach a settlement with one

discriminate, what reason could there be to assume that the next one would be successful.” Id. at

572, citing Oatis v. Crown Zellerback Corp., 398 F.2d 496, 498 (5th Cir. 1968). The Seventh

Circuit has accepted this rationale for class action suits. Id. at 572, citing Romasanta v. United

Airlines, Inc., 537 F.2d 915, 918-919 & n.7 (7th Cir. 1976).

                Two factors must be present for non-complying plaintiffs to invoke the single-

filing rule. First, at least one complying plaintiff must be a party to the suit. Id. at 574, citing

Jackson v. Seaboard Coast R.R., 678 F.2d 992, 1011-12 (11th Cir. 1982); see also Scarlett v.

Seaboard Coast R.R., 676 F.2d 1043, 1050 (5th Cir. Unit B 1982). The second requirement of

the single-filing rule is that the plaintiff’s claims “must have arisen out of similar discriminatory

treatment in the same time frame.” Id. at 574, citing Jackson, 678 F.2d at 1012. The test for

application of the single-filing rule is not whether the claims are identical but whether the EEOC

complaints are similar enough such that the policies behind Title VII are not contravened by

excusing the filings. Id. at 574-5. Thus, the filing of the EEOC complaint serves to notify

employers so long as “all of the allegations in the complaint are quite closely related to the

factual allegation of the [EEOC] charges.” Id. at 575.

                Here, Plaintiffs LeGrain Winston, I.V. Newson, Jr., Samuel Page and Victor

Slaughter all received right to sue letters issued by the Department of Justice and dated May 23,

2018. (Compl. ¶ 6). Four of the Plaintiffs timely filed this lawsuit within the required 90 days



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from receipt of their right to sue letters, which resulted from four individual EEOC charges

alleging similar facts of discrimination within the Cook County Sheriff’s Office. (Comp. ¶¶ 7, 8,

Ex. A – H). Thus, Plaintiffs Winston, Page, Slaughter and Newson, Jr. are complying plaintiffs

and satisfy the first factor of the single-filing rule, which requires at least one complying

plaintiff.

               Further, the second factor that must be present for non-complying plaintiffs to

invoke the single-filing rule is that the plaintiffs’ claims must have arisen out of similar

discriminatory treatment in the same time frame. Here, the non-complying Plaintiffs include

Michelle Strickland, Vernell Tims, Wilford Ferguson, Cecil Williams, Anthony Manning, David

Walker and Tyrone McGhee. All of the non-complying Plaintiffs either currently, or previously

worked in the Electronic Monitoring Unit of the Cook County Sheriff’s Department under the

supervision of the individually named Defendants. (Compl. ¶¶ 11, 12, 15-19).

               Additionally, all of the Plaintiffs are African-American and allege discriminatory

practices against the Defendants during the same time frame and are similar enough that the

policies of Title VII are not contravened by excusing the filings. (Compl. ¶¶ 11, 12, 15-19). The

EEOC complaints of Plaintiffs Winston, Newson Jr., Page and Slaughter served to notify the

Defendant employer of the factual allegations of the EEOC filings. Specifically, paragraphs 77

through 86 of Plaintiffs’ Complaint allege facts common to all of the complying and non-

complying Plaintiffs. Thus, the non-complying Plaintiffs here have satisfied the second

requirement of the single-filing rule and Defendants’ motion to dismiss should be denied.

        II.    The Section 1981 Counts Apply to Defendants’ Individual Liability and
               Should Not Be Dismissed Pursuant to Fed. R. Civ. P. 12(b)(6).

               42 U.S.C. § 1981 guarantees that “[a]ll persons within the jurisdiction of the

United States shall have the same right . . . to make and enforce contracts,” regardless of race. It

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proscribes racial discrimination in contractual relationships, including employment. Smith v.

Bray, 681 F.3d 888, 892 (7th Cir. 2012). There is a private right of action for violations

committed by private actors, but another section – section 1983 – provides “the exclusive

remedy for violations of § 1981 committed by state actors.” Campbell v. Forest Preserve Dist.,

752 F.3d 665, 671 (7th Cir. 2014). Individuals can be held liable under § 1981, if they

“participated in” the adverse employment action against the plaintiff. Smith v. Bray, 681 F.3d at

896-97 & n.2. “The same requirements for proving discrimination apply to claims under Title

VII, § 1981 and § 1983. Egonmwan v. Cook County Sheriff’s Dep’t, 602 F.3d 845, 850 (7th Cir.

2010).

               Here, the individual Defendants have been sued in their individual and official

capacities. This court must accept as true all well-pleaded factual allegations and draw all

reasonable inferences in favor of the plaintiffs. See Reger Development, LLC v. Nat’l City Bank,

592 F.3d at 763-64. Individuals can be held liable under § 1981, if they “participated in” the

adverse employment action against the plaintiff. Smith v. Bray, 681 F.3d at 896-97 & n.2.

               To the extent that the individual Defendants have been sued individually, the §

1981 counts should not be dismissed. Specifically, paragraphs 77 through 86 of Plaintiffs’

Complaint allege facts common to all Plaintiffs and allege facts directed at the individual

Defendants’ actions. At this stage of the proceedings and as there are factual questions regarding

the Defendants’ individual liability, a motion to dismiss the § 1981 Count is not appropriate and

therefore, should be denied.

               WHEREFORE, the Plaintiffs, LEGRAIN WINSTON, MICHELLE

STRICKLAND, VERNELL TIMS, I.V. NEWSON, Jr., SAMUEL PAGE, WILFORD

FERGUSON, CECIL WILLIAMS, ANTHONY MANNING, DAVID WALKER, TYRONE



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MCGHEE and VICTOR SLAUGHTER respectfully requests that this Honorable Court deny the

Defendants’ Motion to Dismiss pursuant to Fed. R. Civ. P. Rule 12(b)(6).

Dated: April 9, 2019                               Respectfully submitted,

                                                   By:    /s/ Kelly A. Krauchun
                                                          Attorney for Plaintiffs


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                                 CERTIFICATE OF SERVICE

                I, Kelly Krauchun, hereby certify that on April 9, 2019, I have electronically filed
a true and correct copy of Plaintiff’s Response to Defendants’ Motion to Dismiss with the Clerk
of Court using the CM/ECF system, which will send notification of such filing to all parties of
record listed below:

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